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Trevor Reid
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Plaintiff(s), pro se

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ARIZONA

Trevor Reid,                                       | Case No. CV-22-00068-PHX-SMB
                                                   |
Crystale Reason                                    |
                                                   |
                 Plaintiffs                        |
                                                   |
v.                                                 |
                                                   | PLAINTIFFS’ JOINT NOTICE OF
U.S. Department of the Interior, et al             | VOLUNTARY DISMISSAL OF
                                                   | SPECIFIED CLAIMS AS TO
                Defendants                         | PARTICULAR INDIVIDUAL
                                                   | DEFENDANTS


         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Trevor Reid and Crystale

Reason voluntarily dismiss certain specific claims as to individual Defendants that have

yet to answer or respond to the Complaint (ECF Doc. 1) in this matter, as follows:

         As to Defendant Justin P. Doyle in only his individual capacity, Defendant David

Ballam in only his individual capacity and Defendant Cynthia Sirk-Fear in only her

individual capacity, each Plaintiff dismisses those claims that arise pursuant to Bivens v.

Six Unknown Named Agents, 403 U.S. 388 (1971), those that arise solely under the

common law or statutes of the Commonwealth of Virginia, as well as claims arising

solely pursuant to the respective constitutions of Virginia and the United States.


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       Each Plaintiff maintains every claim as to the foregoing Defendants that is within

the scope of the Federal Tort Claims Act (FTCA), noting that as to all such claims

Defendant United States of America has been substituted for the individual Defendants

Doyle, Ballam and Sirk-Fear by operation of law (ECF Doc. 16).

       Each Plaintiff maintains every claim against Defendants Doyle, Ballam and

Sirk-Fear in their official capacities as law enforcement officers of the United States.

Such claims are not dismissed.

       Respectfully submitted this 13th day of June, 2022.

                                              s/Trevor Reid,          plaintiff pro se

                                              s/Crystale Reason,      plaintiff pro se




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                            CERTIFICATE OF SERVICE

       I certify that on June 13th, 2022 in addition to filing the foregoing document via

CM/ECF I mailed a copy via first class mail to each of the following parties:

       United States of America
       United States Department of the Interior
       National Park Service:

       U.S. Attorney, ATTN: Noel Capps
       2 Renaissance Square
       40 N Central Ave., Ste. 1800
       Phoenix, AZ 85004-4408



       Justin P. Doyle
       David Ballam
       Cynthia Sirk-Fear:

       18100 Park Headquarters Road
       Triangle, VA 22172




                                                                    s/Crystale Reason




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